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                          UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

TANNER
                                                                       CIVIL ACTION

VERSUS
                                                                       20-530-SDD-SDJ

EAST BATON ROUGE PARISH
SHERIFF'S OFFICE, ETAL.

                                         RULING

        The Court has carefully considered the Complaint,^ the record, the law applicable

to this action, and the Report and Recommendations2 of United States Magistrate Judge

Schott D. Johnson, dated October 19, 2021, to which no opposition was filed.

        The Court hereby approves the Report and Recommendations of the Magistrate

Judge and adopts it as the Court's opinion herein.

        ACCORDINGLY, the Court declines to exercise supplemental jurisdiction over any

potential state law claims, and this action is hereby dismissed, with prejudice, for failure

to state a claim upon which relief may be granted pursuant to 28 U.S.C. §§ 1915(e) and

1915A.

        Judgment shall be entered accordingly.

        Signed in Baton Rouge, Louisiana the /Ur "d ay of November, 2021.




                                      CHIEF JUDGH^HELLY D. DICK
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA



1 Rec. Doc. 1.
2Rec. Doc. 13.
